        Case 1:18-cv-01294-GJQ ECF No. 6 filed 11/27/18 PageID.35 Page 1 of 4



                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION
                                   __________________________


MARIA LUISA PENA-RIVERA,

                   Petitioner,

v.                                                                     Case No. 1:18-CV-1294
                                                                       (Criminal Case No. 1:02:CR:221)
UNITED STATES OF AMERICA,
                                                                       HON. GORDON J. QUIST
            Respondent.
_____________________________/

                                                    OPINION

           Petitioner, Maria Luisa Pena-Rivera, has filed a petition for a writ of coram nobis

pursuant to the All Writs Act, 28 U.S.C. § 1651(a), seeking to challenge her 2003 conviction for

possession of cocaine with intent to sell or distribute, in violation of 21 U.S.C. §§ 841(a),

841(b)(1)(B).        Pena-Rivera argues that she is entitled to relief because her counsel was

ineffective in violation of the Sixth Amendment by failing to advise Pena-Rivera of the

immigration consequences of her guilty plea.1 (ECF No. 1 at PageID.9.) Pena-Rivera states that

her counsel failed to advise her that her guilty plea could be a basis for removal. For the

following reasons, the Court will deny the petition.

           The United States Supreme Court has characterized the writ of error coram nobis as an

“extraordinary remedy” that should be granted “only under circumstances compelling such

action to achieve justice.” United States v. Morgan, 346 U.S. 502, 511, 74 S. Ct. 247, 252

(1954). To be entitled to the writ, “the petitioner must demonstrate (1) an error of fact; (2)

unknown at the time of trial; (3) of a fundamentally unjust character which probably would have


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    At the time Pena-Rivera was charged and pled guilty, she was known as Maria Luisa Lara.
      Case 1:18-cv-01294-GJQ ECF No. 6 filed 11/27/18 PageID.36 Page 2 of 4



altered the outcome of the challenged proceeding if it had been known.” United States v.

Johnson, 237 F.3d 751, 755 (6th Cir. 2001) (citing Blanton v. United States, 94 F.3d 227, 230

(6th Cir. 1996)). The writ is used to vacate a federal sentence or conviction “only when a § 2255

motion is unavailable-generally, when the petitioner has served his sentence completely and thus

is no longer ‘in custody’ as required for § 2255 relief.” Id. (some internal quotation marks

omitted).

        On March 24, 2003, this Court sentenced Pena-Rivera to 30 months imprisonment,

followed by 5 years of supervised release, after she pled guilty to possession of cocaine with

intent to sell or distribute, in violation of 21 U.S.C. §§ 841(a), 841(b)(1)(B). Pena-Rivera served

the in-custody portion of her sentence and was discharged from supervised release on October

29, 2009. At some point Pena-Rivera was removed from the United States, and subsequently

reentered. (ECF No. 1 at PageID.6.)

        Pena-Rivera alleges that she is entitled to relief because her counsel was ineffective.

Ineffective assistance of counsel claims are analyzed under the well-known two-prong test set

forth in Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052 (1984). Under the first prong,

the defendant must show that counsel’s performance was “deficient.” That is, the defendant

must demonstrate that “counsel made errors so serious that counsel was not functioning as the

‘counsel’ guaranteed the defendant by the Sixth Amendment.” Id. at 687, 104 S. Ct. at 2064.

The second prong requires the defendant to show that counsel’s deficient performance

prejudiced his defense—“that counsel’s errors were so serious as to deprive the defendant of a

fair trial, a trial whose result is reliable.” Id.

        Citing Padilla v. Kentucky, 559 U.S. 356, 130 S. Ct. 1473 (2010), Pena-Rivera argues

that her counsel was ineffective because he failed to advise her of the collateral consequences of

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      Case 1:18-cv-01294-GJQ ECF No. 6 filed 11/27/18 PageID.37 Page 3 of 4



her guilty plea. In Padilla, the Court held that an attorney “must inform h[er] client whether

h[er] plea carries a risk of deportation,” and failure to do so constitutes ineffective assistance of

counsel. Id. at 374, 130 S. Ct. at 1486. Pena-Rivera’s problem is that she pled guilty more than

seven years before the Supreme Court decided Padilla, and the Court has held that its ruling in

Padilla does not apply retroactively to cases on collateral review. Chaidez v. United States, 568

U.S. 342, 347, 133 S. Ct. 1103, 1107 (2013). Moreover, in United States v. Manjang, 634 F.

App’x 528 (6th Cir. 2015), affirming the district court, the court of appeals said, “[b]ecause

Padilla is prospective only, the District Court cannot apply Strickland analysis to the

immigration advice at issue, and thus properly denied defendant’s petition for a writ of coram

nobis.”2 Id. at 530.

         In light of Chaidez and Manjang, Pena-Rivera may not rely solely on the fact that her

counsel failed to advise her about the immigration consequences of her plea. The Court notes

that coram nobis relief for ineffective assistance may be available in instances where the

attorney affirmatively misrepresents the immigration consequences of a plea to his client. See

United States v. Garcia, No. CR 99-0699-RSWL-3, 2017 WL 3669542, at *3 (C.D. Cal. Aug.

24, 2017) (noting that because the defendant was convicted in 2000, before Padilla, the

defendant was required to show that his counsel affirmatively misrepresented immigration

consequences to the defendant). Here, Pena-Rivera offers no facts or argument suggesting that

her counsel affirmatively misled her about immigration consequences; she merely states that her

counsel “failed to advise [her] that as a Lawful Permanent Resident, [she] would be immediately


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 Pena-Rivera cites Lee v. United States, __ U.S. __, 137 S. Ct. 1958 (2017), but Lee does not support Pena-Rivera’s
request for relief. In Lee, the petitioner informed his attorney of his noncitizen status and repeatedly asked his
attorney whether he would face deportation as a result the criminal proceeding. 137 S. Ct. at 1963. Pena-Rivera
does not allege in her petition or her declaration that she inquired of her counsel about the immigration consequences
of her plea.

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     Case 1:18-cv-01294-GJQ ECF No. 6 filed 11/27/18 PageID.38 Page 4 of 4



upon conviction subject to deportation.” (ECF No. 3 at PageID. 28.) Pena-Rivera thus has not

demonstrated a basis for relief in the form of a writ of coram nobis.

       Accordingly, the Court will deny Pena-Rivera’s petition for a writ of coram nobis.

       A separate order will issue.




Dated: November 27, 2018                                   /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE




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